                        Case 2:08-cr-00130-SSV-DEK                         Document 278               Filed 04/27/12            Page 1 of 1
         LAED 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                               UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                 Eastern District
                                                               __________ Districtofof
                                                                                    Louisiana
                                                                                       __________

                             United States of America
                                        v.                                          )
                                                                                    )
                                  Dwayne Hitchens                                   )   Case No:         08-130
                                                                                    )   USM No:          30626-034
         Date of Original Judgment:                            03/18/2009           )
         Date of Previous Amended Judgment:                                         )   pro se (prior attorney was Robert Early)
         (Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                           ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                    PURSUANT TO 18 U.S.C. § 3582(c)(2)
                 Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
         § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
         subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
         § 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
         and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
         IT IS ORDERED that the motion is:
                    ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    u
         the last judgment issued) of                   months is reduced to                                      .

         I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
         Previous Total Offense Level: ____
                                        29   as of _________
                                                   3/18/2009  Amended Total Offense Level: ________
                                                                                               29
                                     II
         Criminal History Category: ___________                                           II
                                                              Criminal History Category: ___________
         Previous Guideline Range: _______
                                     120    to ______
                                                121    months Amended Guideline Range: _______
                                                                                           120    to _______
                                                                                                     ______
                                                                                                      121   months
                                                                                                             months

         COMMENTS (For Public Disclosure)
                                     (Complete Part II of Page 2 when motion is granted)
         COMMENTS (For Public Disclosure)
         The defendant is not eligible for a reduction, as his guideline range was not lowered by Amendment 750.




         Except as otherwise provided, all provisions of the judgment dated                         03/18/2009          shall remain in effect.
         IT IS SO ORDERED.
a Test                              4/27/12
         Order Date:
                                  2/15/05                                                                     Judge’s signature


         Effective Date:                                                                     Hon. Sarah S. Vance, U.S. District Judge
                              (if different from order date)                                                Printed name and title
